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 5
                               UNITED STATES DISTRICT COURT
 6
                                       DISTRICT OF NEVADA
 7
 8   MARCOS L.
                                                           Case No. 2:23-cv-01882-CDS-NJK
 9          Plaintiff,
     v.                                                                 ORDER
10
                                                                     [Docket No. 10]
11   MARTIN O’MALLEY,
12          Defendant.
13         Pending before the Court is an unopposed motion for extension of time for Plaintiff to file
14 his opening brief. Docket No. 10. Plaintiff seeks a 46-day extension premised on an assertion that
15 counsel needs more time given competing work obligations and caseload. See id. at 1-2 (noting
16 that in the next month “staff in Counsel’s office have one hundred and twenty-three (123) Plaintiff
17 briefs due”). Such an assertion lacks important detail, including which attorney is handling this
18 matter and why that attorney cannot meet the current deadline. Moreover, that an attorney has
19 overloaded himself is not good cause for an extension, see, e.g., Olesczuk v. Citizens One Home
20 Loans, 2016 U.S. Dist. Lexis 153342, at *6 n.3 (D. Nev. Nov. 4, 2016) (citing Greene v. Alhambra
21 Hosp. Med. Ctr., 2015 U.S. Dist. Lexis 72697, at *3 (D. Nev. June 3, 2015)), which the Court has
22 explained to the Commissioner’s attorneys when they have asked for extensions based on the same
23 reasoning, see, e.g., Fenwick v. Kijakazi, No. 2:22-cv-01077-NJK, Burright v. Kijakazi, No. 2:21-
24 cv-01288-NJK, Docket No. 25 (D. Nev. Mar. 22, 2022); Ramirez v. Saul, Case No. 2:19-cv-00978-
25 NJK, Docket No. 21 (D. Nev. Oct. 16, 2019); Gonzalez v. Berryhill, Case No. 2:18-cv-02199-
26 APG-NJK, Docket No. 16 (D. Nev. Apr. 16, 2019); Betten v. Berryhill, Case No. 2:18-cv-00536-
27 KJD-NJK, Docket No. 24 (D. Nev. Dec. 06, 2018). In short, good cause has not been shown for
28 the extension requested.

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 1        As a one-time courtesy to counsel, however, the Court will allow an extension.
 2 Accordingly, the motion to extend is GRANTED and the deadline for the responsive brief is
 3 EXTENDED to April 1, 2024. Docket No. 10.
 4        IT IS SO ORDERED.
 5        Dated: February 6, 2024
 6                                                       ______________________________
                                                         Nancy J. Koppe
 7                                                       United States Magistrate Judge
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